                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 FARAH AWAD, ATA BOULES, NAGY                         )
 EILIA, and GAWHARA EILIA, on Behalf                  )
 of THEMSELVES and All Others                         )   COLLECTIVE ACTION
 Similarly Situated,                                  )
                                                      )   CIVIL ACTION
        Plaintiffs,                                   )
                                                      )   CASE NO. 3:15-cv-00130
 v.                                                   )
                                                      )   JUDGE SHARP
 TYSON FOODS, INC. and TYSON                          )   MAGISTRATE JUDGE NEWBERN
 FRESH MEATS, INC.,                                   )
                                                      )
        Defendants.                                   )

                  ORDER APPROVING SETTLEMENT AGREEMENT AND
                       DISMISSING CASE WITH PREJUDICE

       Before the Court is the parties’ Joint Motion for Approval of Settlement Agreement and

to Dismiss Case with Prejudice (“Joint Motion”). For good cause shown, the parties’ motion is

GRANTED. Specifically, the Court ORDERS as follows:

       1.      The Court hereby APPROVES the proposed settlement as set forth in the

Settlement Agreement (the “Agreement”) (attached to the parties’ Joint Motion as Attachment

1), subject to the conditions stated in this Order.

       2.      The Court finds that the proposed settlement represents a fair and reasonable

compromise of contested litigation involving bona fide disputes between the parties.

       3.      The Court orders that post-settlement notice shall be sent in accordance with the

terms of the parties’ Agreement.

       4.      Plaintiffs’ counsel shall notify the Court of the date on which the post-settlement

notice is mailed and file all consent forms received pursuant to the post-settlement notice

procedure with the Court in accordance with the terms of the Agreement.



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       5.      The Court finds fair and reasonable the agreed upon payment of $310,000 in fees

and expenses for the work performed and expenses incurred in litigating this action to date.

Additionally, the Court finds the additional fees and expenses to be awarded for exceeding

certain participation levels in the post-settlement notice under paragraph 6.2 of the Agreement

fair and reasonable in light of the work and expenses likely to be associated with the post-

settlement notice process.

       6.      The Court finds reasonable and approves the service payments of $10,000.00 to

each of the Named Plaintiffs for a total of $40,000.00. These service payments shall be paid in

accordance with the terms of the parties’ Agreement.

       7.      Without affecting the finality of this Order and Final Judgment in any way, the

Court retains continuing jurisdiction over this Action for the purpose of enforcing the Settlement.

       8.      This case is hereby DISMISSED WITH PREJUDICE, but shall remain open to

permit the filings contemplated by this Order and the parties’ Agreement. At the close of the

post-settlement notice period the parties shall advise the Court that the notice period has ended

and request that this case be permanently closed.

       It is so ORDERED.

       ENTERED this 21st day of October 2016.


                                                     CHIEF JUDGE KEVIN H. SHARP
                                                     United States District Court




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SUBMITTED FOR ENTRY:

/s/ David W. Garrison                  /s/ Michael J. Mueller (by DWG with permission)
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing [Proposed] Order Approving
Settlement Agreement and Dismissing Case with Prejudice has been served on the following via
the Court’s CM/ECF system:

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       Attorneys for Defendants

on this 13th day of October, 2016.


                                               /s/ David W. Garrison   _
                                               DAVID W. GARRISON
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